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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY

   Caption in Compliance with D.N.J. LBR 9004-1(b)                                 Order Filed on March 13, 2018
   SILLS CUMMIS & GROSS, P.C.                                                                 by Clerk
                                                                                      U.S. Bankruptcy Court
   Valerie A. Hamilton                                                                District of New Jersey
   vhamilton@sillscummis.com
   George R. Hirsch
   ghirsch@sillscummis.com
   600 College Road East
   Princeton, New Jersey 08540
   Tel: (609) 227-4600
   Fax: (609) 227-4646
   Proposed Attorneys for the Debtors and Debtors in
   Possession
                                                                 Case No.:        18-14600 (MBK)
                                                                                ____________________
   In Re:
   PRINCETON ALTERNATIVE FUNDING, LLC,                           Chapter:                11
                                                                                ____________________

                                     Debtor.                                    3/16/2018 at 11:00 a.m.
                                                                 Hearing Date: ____________________

                                                                 Judge:           Michael B. Kaplan
                                                                                ____________________


                            ORDER REGARDING APPLICATION FOR EXPEDITED
                               CONSIDERATION OF FIRST DAY MATTERS


      The relief set forth on the following pages, numbered two (2) and three (3) is ORDERED.




DATED: March 13, 2018
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           After review of the Application for Expedited Consideration of First Day Matters, and for good
    cause shown;

           IT IS ORDERED that the following motions are scheduled for hearing before the Honorable
           Michael B. Kaplan
    ______________________________                         8
                                   in Courtroom # no. ___________ located at
          402 East State St., Trenton, NJ 08608
    _____________________________________________ on the date(s) and time(s) set forth below:


     MATTER                                                               HEARING DATE and TIME

     1. Motion Seeking the Joint Administration of Multiple Debtor
        Bankruptcy Cases.                                                  3/16/2018 at 11:00 a.m.

     2. Motion for an Order Authorizing the Debtor an Extension of
        Time Within Which to File Statements and Schedules.
     3. Motion for an Order Authorizing the Emergency Use of Cash
        Collateral or Debtor-In-Possession Financing Pending the
        Noticing and Scheduling of an Interim Hearing for Financing
        Pursuant to Bankruptcy Code § 363 and 364 and Fed. R. Bankr.
        P. 4001.
     4. Motion for an Order Authorizing the Debtor to Maintain             3/16/2018 at 11:00 a.m.
        Existing Bank Accounts and Business Forms and Cash
        Management Procedures Providing the United States Trustee’s
        Office with a 60 Day Period to Object to Said Order before It
        Becomes a Final Order.
     5. Motion for an Order Authorizing a Debtor to Modify the
        Investment Guidelines Set Forth in Bankruptcy Code § 345 on
        an Interim Basis, Providing the United States Trustee’s Office
        and Any Other Parties-in-Interest a 60-Day Period to Object to
        Said Order Before it Becomes a Final Order.
     6. Motion for an Order Authorizing the Debtor to Pay Pre-Petition
        Wages, Salaries, Compensation, Employee Benefits and
        Reimbursable Business Expenses up to the Limits Set Forth in
        Bankruptcy Code § 507(a).
     7. Motion for an Order Authorizing the Debtor to Pay Pre-Petition
        Sales, Use, Payroll and Other Taxes That Are Otherwise
        Priority Claims Under Bankruptcy Code § 507.
     8. Motion for an Order Authorizing the Debtor to Continue Credit
        Card Facilities.
     9. Motion for an Order Authorizing the Debtor to Honor Certain
        Pre-Petition Customer Obligations, Deposits, Rebates, Etc.




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     MATTER                                                               HEARING DATE and TIME

     10. Motion for an Order Authorizing the Debtor to Continue With
         and Pay Pre-Petition Outstanding Amounts Due on Various
         Insurance Policies.
     11. Motion for an Order Authorizing Payment of Outstanding and
         Unpaid Pre-Petition Debt to Certain Vendors Who Provide
         Critical and Necessary Services and/or Products to the Debtor.
     12. Motion for an Order Pursuant to Bankruptcy Code § 366
         Regarding Adequate Assurance for the Future Performance for
         Utilities and Establishing Procedures for Determining Requests
         for Additional Adequate Assurance.
     13. Motion for an Order Authorizing the Debtor to Retain a Claims
         and Noticing Agent.
     14. Motion for an Order Establishing Noticing Procedures.
     15. Others:




             IT IS FURTHER ORDERED, that service of this Order must be made under D.N.J. LBR 9013-
    5(f); and

           IT IS FURTHER ORDERED, that objections and/or responses to First Day Matters, if any, may
    be made under D.N.J. LBR 9013-5(d).




                                                                                              rev.8/1/15



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                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 18-14600-MBK
Princeton Alternative Funding LLC                                                                          Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-3                  User: admin                        Page 1 of 1                          Date Rcvd: Mar 13, 2018
                                      Form ID: pdf903                    Total Noticed: 1

Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 15, 2018.
db              Princeton Alternative Funding LLC,   100 Canal Pointe Blvd,   Ste 208,
                 Princeton, NJ 08540-7063

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 15, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 13, 2018 at the address(es) listed below:
              Derek J. Baker   on behalf of Interested Party    MicroBilt Corporation dbaker@reedsmith.com
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
              Valerie A. Hamilton   on behalf of Debtor    Princeton Alternative Funding LLC
               vhamilton@sillscummis.com, g8360@notify.cincompass.com
                                                                                             TOTAL: 3
